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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION
                             CASE NO. 0:14-cv-62890-FAM

  RICHARD RAMCHARITAR and
  KARLA RAMCHARITAR,

                Plaintiffs,
    vs.

  REVENUE ASSISTANCE
  CORPORATION D/B/A REVENUE
  GROUP, an Ohio corporation,

             Defendant.
  ________________________________ /

          JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

          COME now plaintiffs, Richard Ramcharitar and Karla Ramcharitar (plaintiffs),

  and defendant, Revenue Assistance Corporation d/b/a Revenue Group (Revenue), by and

  through their undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), in the

  above-titled action and represent to the Court that this matter, regarding plaintiffs’ claims

  against Revenue, has been settled amicably, and request entry of a Final Order of

  Dismissal with Prejudice in this matter, with each party to bear its own costs and

  attorneys’ fees except as provided in the parties’ Settlement Agreement and Release of

  Liability.

          Dated this 19th day of June 2015.


  /s/ Todd M. Davis                              /s/ Abigail S. Pressler
  Todd M. Davis, Esq.                            Abigail S. Pressler, Esq.
  Florida Bar No. 58470                          Florida Bar No. 0098072
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                                         d/b/a Revenue Group




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